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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,
                                                     CRIMINAL NO. 19-133 (DRD)
    Plaintiff,

      v.

 GILBERTO J. HERNÁNDEZ-MARÍN,

    Defendant.


                                    OPINION AND ORDER

       On July 12, 2021, a jury found Defendant, Gilberto J. Hernández-Marín guilty of one-count

for the possession of a machinegun in violation of 18 U.S.C. §§ 922(o) and 924(a)(2). Pending

before the Court are Hernández-Marín’s Renewed Motion for Judgment of Acquittal (Docket No.

131) and Motion for New Trial (Docket No. 146). The Government filed Responses in Opposition

thereto. See Docket Nos. 139 and 151. For the reasons set forth below, the Defendant’s Motion for

Judgment of Acquittal and Motion for New Trial (Docket Nos. 131 and 146) are hereby DENIED.

                      I.      RELEVANT FACTUAL BACKGROUND

       On February 21, 2019, a Grand Jury returned a One-Count Indictment against the

Defendant for the possession of a machinegun, that is, a 7.62 caliber rifle, Zastava Serbia, model

PAPM92P, bearing serial number M92PV017054, that had been modified so that it was capable

of firing automatically more than one shot, without manual reloading, by a single function of the

trigger, in violation of 18 U.S.C. §§ 922(o) and 924(a)(2). See Docket No. 9. The charge was the

result of a traffic stop intervention which took place on February 16, 2019.
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  Puerto Rico Police Department’s Traffic Stop and Intervention with Hernández-Marín

       In accordance with the testimonies heard by the Jury, Agent Greg Cruz-Figueroa was

patrolling in his assigned K-9 patrol car in the Municipality of Trujillo Alto on or around 10:00

p.m. when he received a telephone call from Sergeant Quiñones. As a result thereof, Agent Cruz

proceeded to arrive at the Sergeant’s location, namely, Ciudad Universitario Shopping Center

located at Route 846. See Transcript of Proceedings – Jury Trial, Day 1, Docket No. 143 pp. 28-

30.

       Upon arriving at a Total Service Station in said grounds, he observed a parked Dodge RAM

pickup truck with its lights on. See id., p. 32. As soon as the vehicle started moving towards the

gasoline dispatch pumps, Sergeant Quiñones turned on the blue lights and siren of the patrol and

intervened with Hernández. See id., p. 34. Thereafter, Agent Cruz also turned on his patrol lights

and proceeded to approach Sergeant Quiñones’ location. See id. As the car’s windows were dark,

Agent Cruz performed an intervention because of the use of illegal tinted glass. See id., p. 39.

According to Agent Cruz, when the Defendant lowered the window, he could see the driver and

its interior. See id. He then asked the Defendant for his driver’s license and registration. See id.,

p. 40. While he was looking for the documents, Agent Cruz went to his patrol car to get the

photometer. See id., p. 42. He then proceeded to ask the Defendant to raise the windows and open

the door so he could place the device. See id. According to Agent Cruz, Hernández-Marín opened

the door and he proceeded to perform the photometer test. See id., p. 43. The car doors were opened

to perform the photometer test instead of requiring Hernández-Marín to lower the car windows

because of the height of the vehicle and in order to properly place both parts of the photometer, to

wit, transmitter, and receiver, on the glass. See Transcript of Jury Trial – Day 2, Docket No. 37,

p. 37. He then informed the Defendant that the light transmission according to the machine was 20



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percent when a light transmission cannot be below 35 percent by law. See Transcript of Jury Trial

– Day 1, Docket No. 143, p. 43. Therefore, the Defendant was informed that he would perform a

full inspection of the vehicle. See id., p. 44.

        As Agent Cruz asked Hernִández-Marín to open the back door, he placed the photometer

in said door and suddenly noticed what “could be the butt of a firearm.” See id., p. 45. He notified

Sergeant Quiñones and asked the Defendant whether he had a permit to possess firearms, to which

he answered in the affirmative. Agent Cruz then noticed the butt of a firearm underneath the

driver’s seat. Both firearms where in close proximity to each other. See id., p. 46. Thereupon,

Agent Cruz notified Sergeant Quiñones of the existence of another firearm, and upon verifying

Hernández-Marín’s license permit, it was only a permit for target shooting. According to Agent

Cruz, that meant that “under the law, the only way that the weapons can be transported is being

concealed inside their case, and they have to be separate from the ammunition. And in order to be

transported, they can only be transported from the home to the firing range, and from the firing

range to the home.” Id., p. 47. Therefore, the firearms were being transported “in an improper

manner.” Id. Hernández-Marín was then asked to step out of the vehicle, he was read his warnings

and placed under arrest. See id., p. 48. The butts of the firearms where not retrieved from the

vehicle until confirmation as to ownership was obtained from the REAL system at the general

police headquarters. See id., pp. 48-49. Agent Cruz then proceeded to call “Servicios Técnicos”

(hereinafter, “Technical Services”) “[b]ecause there were two weapons [he] was observing; two

firearms that were loaded inside a vehicle.” Id., p. 50.

        Pursuant to the information provided by the Puerto Rico Police Department (hereinafter,

“PRPD”) one of the firearms, an AK-47 appeared to have been altered. See id., p. 51. Upon arrival,

Technical Services took photographs of where the firearms were located, to wit, underneath the



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driver’s seat and on the floorboard of the passenger seat in the back of the pickup truck. See id.

The AK-47 which was retrieved by Agent Cruz is a MP92 Zastava, caliber 7.62 x 39, serial

number, PV0107054. See id., p. 56. According to Agent Cruz, the firearm “was all black. It had

its magazine in. It was loaded, and it had a particularity that it had -- the lower receiver was

welded.” Id. Therefore, the firearm was capable of firing automatically without having to trigger

it. See id., p. 57. It was accordingly, “relatively visible” the fact that the firearm was altered. See

id., p. 58. It was then removed from the site in order to be unloaded. See id. The firearm had 30

rounds in the magazine and one in the chamber, known as the barrel. It, therefore, had a total of

31 rounds. See id., p. 91. A second firearm was retrieved, to wit, a black with a silver barrel Taurus

G2 model with serial number TLT10456. See id. Said firearm seemed normal and had 15 rounds

of 9mm caliber according to Agent Cruz. See id.

       The jury was shown photos of the scene, the firearms, and the ammunitions, which were

described in detail by Agent Cruz. See Government Exhibit Nos. 1-40.

                              Knowing Possession of a Machinegun

       The Government called Agent William Lugo-Rodríguez, a Puerto Rico Police Officer

assigned to the Weapons Regulation and Permit Issuance Division, as a witness. See Transcript of

Jury Trial – Day 2, Docket No. 144, p. 39. Mr. Lugo works with the REAL system, wherein

weapons, weapons permits, and ammunitions sold in Puerto Rico are registered. See id. The jury

was shown Hernández-Marín’s citizen profile, wherein the registered firearms that belong to the

Defendant were reflected. See id., pp. 40-41. The report showed that Hernández-Marín had a target

shooting permit which was cancelled. See id. The weapons that appear registered include a Glock,

model 23, caliber .40, serial number PKG188; an Aero Precision pistol, model X15, caliber .223

and 5.56, which is considered a small rifle; and the Taurus pistol, PT111, caliber 9mm, with serial



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number TLP10485, which is one of the weapons that was found during the intervention subject of

the case at bar. See id., pp. 42-45. All weapons were seized as a result of an investigation. See id.,

p. 59. According to Agent Lugo, the seized Aero Precision X15 pistol has several calibers, to wit,

.224 Valkyrie, .300, .22, .223, .22LR, .300 AAC Blackout, 5.56 x 45, 5.56, 6.8, 9mm, and 7.62 x

39. See id.

        The jury was also shown Hernández-Marín’s Ammunition Purchase Report from January

2, 2017 through June 29, 2021. See id., p. 46; see also Government’s Exhibit 43. According to the

report, through that timespan, Hernández-Marín purchased 500 ammunitions of .223 caliber; 700

ammunitions of .40 caliber; 220 ammunitions of 7.62 x 39 caliber and 2,150 ammunitions of 9mm

caliber. See id., p. 47. The report reflects that the Defendant made two transactions for rounds of

7.62 x 39 caliber at MB Gun Club, an armory, on December 31, 2018 and January 17, 2019. See

id., p. 49.

        Finally, Agent Lugo confirmed that there was a negative report as to the Zastava pistol

occupied as part of the Defendant’s car intervention. Therefore, that firearm is not registered

legally to anyone. See id., p. 51; see also, Government’s Exhibit 42.

        The Government also called Mayra Ramírez, owner of MB Gun Club, as a witness.

Ramírez testified that armories must keep a registry of 20 years of gun purchases as required by

state law. See id., p. 62. She also explained that in order for a person to buy ammunitions, you can

walk into an armory and buy it as long as you have a permit. See id., p. 63. The buyer must also

have a “registered caliber” which according to Ramírez means that “to be able to sell, for example,

a 9mm ammunition, you have to have bought a gun through the process in a gun store. You are to

have it registered under your name, on your license, and we can access your profile that PRPD

will give us access, and I would be only able to sell to you the ammunition that you have



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registered.” Transcript of Jury Trial – Day 2, Docket No. 144, p. 63. Hence, all armories have

access to the REAL system. See id., p. 64. The jury was shown searches made by Ramírez

(Government’s Exhibits 44, 45, 46), while explaining that the system needs to have a record of all

the ammunition that is being sold. See id., p. 65. According to Ramírez, “[e]verything has to be

registered and no ammunition can leave the gun store if it’s not registered.” Id., p. 65. The record

will register the date and time of purchase and at the end of the document, both the armorer and

the buyer have to agree that the purchase was proper. See id., p. 66. Thereupon, the local

Government retains the original document. See id.

       Ramírez then confirmed that Hernández-Marín purchased 100 rounds of 7.62 x 39

ammunition on January 17, 2019 at 1:28 p.m. and 34 seconds at the MB Gun Club. See

Government’s Exhibit 44-44A. In order for the Defendant to make the purchase, the armorer needs

to log into the system with the buyer’s weapons permit and then the armorer enters her pin number,

and the Defendant must equally enter a pin number which allows the armorer to see whether he is

registered to the REAL system. See id., p. 67. Upon pulling his name up, the system provides a

photo of the registered buyer and upon identifying the buyer and entering the pin, the armorer is

able to access the calibers the person has registered. See id., p. 68-69. All sales go to the PRPD.

See id., p. 68. Ramírez also confirmed the purchase made on December 31, 2018. See

Government’s Exhibit 45.

       The Government showed Ramírez the bag of ammunitions, which were identified as

Tulammo 7.62 x 39, the only 7.62 ammunitions that her armory sells at least since 2019. See id.,

p. 70-71; see also Government’s Exhibit 38. The armorer further testified that if a person comes

in and owns an Aero Precision X15 model, she can sell them rounds of 7.62 as “you can fire 7.62,

.300 Blackout.” Id., p. 74. Accordingly, she was shown a stripped Aero Precision X15, namely, a



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X15 stripped lower receiver, serial number X180770, which Ramírez testified cannot be fired

unless the lower part is placed. However, you can buy ammunition with a stripped lower receiver

pursuant to Puerto Rico law. See id., p. 74-75; see also Government’s Exhibit 118.

       The Government then called Agent José Fajardo-Vega as a witness. He is a police officer

at the Carolina Police Precinct who has worked with the Ammunitions Task Force (hereinafter,

“ATF”) for the past 14 years. See id., p. 79. He was contacted by Sergeant Quiñones as they had

seized the Defendant’s firearm which was considered a machine gun. See id., p. 80. Accordingly,

Agent Fajardo seized other weapons and ammunitions from the Defendant. See id., p. 82. The

Government then showed and authenticated photos of all the weapons and ammunitions seized

from the Defendant. See id., p. 82; Government’s Exhibits 49, 119 and 120. According to the

pictures, 48 rounds of 7.62 caliber ammunitions were occupied by the ATF. See Government’s

Exhibit 120.

       Mr. Ricardo Diaz-Torres was also called as a witness. He works for the Department of the

San Juan Municipal Police, particularly detailed with the Department of National Security. See

Transcript of Jury Trial – Day 3, Docket No. 145, p. 3. Mr. Diaz is assigned to the forensics

laboratory where he analyzes digital evidence in cases where there is a criminal investigation. See

id., p. 4. Accordingly, the Government showed the witness the Defendant’s iPhone with which he

worked with at the laboratory. See Government’s Exhibit 116. As the iPhone was blocked, Mr.

Diaz was only able to partially extract information from the device. See id. p. 6. Once the

information was extracted, he made an image with the forensic software, and opened said image

with another software in order to be able to see its contents. See id; Government Exhibits 59-108.

The images related thereto were authenticated by the witness. The Government showed the witness




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images that were extracted from the Defendant’s iPhone, such as an internet searches of parts of a

rifle. See id., p. 8; Government Exhibit 100.

       Ultimately, Ms. Eve Eisenbise was called as an expert witness in firearms and ammunition

for the Government. She works for the ATF in the Firearms and Ammunition Technology

Division. See Transcript of Jury Trial -Day 3, Docket No. 145, p. 13. According to Ms. Eisenbise,

she tested the firearm that was submitted, namely, the Zastava PAP M92. See id., p. 17. She made

a report dated March 19, 2019 where she found that “the firearm, classifies as a firearm under the

GCA [Gun Control Act] as well as it classifies as a machine gun, which is a firearm under both

GCA and NFA [National Firearm Association].” See id., p. 18. According to Ms. Eisenbise,

       [u]pon examining the firearm, [she] noted that it is a Zastava PAP M92, which is
       an AK-type firearm system, and it is made in Serbia by Zastava, and it is imported
       into the United States and marketed by a company called CAI or Century Arms in
       Georgia, Vermont. The firearm was originally manufactured as a semiautomatic
       pistol. In other words, it did not have a shouldering device or a stock on it. It was
       made as a pistol version in a semiautomatic Zastava.

       [She] also noted several modifications immediately, just noted by looking at the
       external part of the firearm, and [she] also upon further examination of the inside
       of the firearm, [] noted other modifications made to the firearm that converted it
       into a machine gun. So the firearm classified not only as a firearm because it will
       expel a projectile by the action of an explosive and incorporated the receiver of the
       firearm, but it is also a machine gun because it is capable of expelling more than
       one projectile with a single function of the trigger, and it incorporated the receiver
       of a machine gun.

Id., pp. 18-19; Government’s Exhibit 37. The Government showed the Zastava firearm to the

witness, and she proceeded to explain her findings to the jury in detail. She explained to the jury

that the portion in the back of the firearm that runs forward of the pistol grip is the receiver, which

constitutes the firearm. It is the most serialized part of a firearm as “in and of itself without

anything on it is a firearm because it’s the main receiver of the firearm.” Id., p. 21.




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       One of the first things stated by Ms. Eisenbise was that she noticed upon examining the

firearm was the modifications. Although it is manufactured as a semiautomatic pistol, she “noticed

on the outside of the firearm, in a location where an automatic sear pin would go on an AK machine

gun, . . . there is machining in the way of a hole that runs through both sides of the receiver, and

in that hole, a pin has been installed. This is the automatic sear pin. It holds in the automatic sear

assembly on a machine gun.” Id., p. 21. Ms. Eisenbise further noticed there is some swaging of

the material or scratches around the pin. “[T]here is a nice finish on this firearm -- is scratched up

during the installation, indicating . . . that this was done aftermarket. The manufacturer did not

make it this way. And you can see this pin on both sides.” Id. The expert also noticed another hole

just forward of the auto sear pin hole that does nothing. According to Ms. Eisenbise, it was likely

drilled in the wrong place as it does not serve any purpose. Therefore, it is a modification that is

not there. See id., pp. 21-22.

       Ms. Eisenbise further noticed that below the selector, the lever that you push from top to

bottom to move it from safe to fully automatic or to semiautomatic, there is another small

modification, namely, “[t]here appears to be a small bit of a metallic weld or metal installed there,

and it’s in the correct location to hold or accommodate the selector in the center position, which is

the position for automatic fire. These modifications are very obvious from the outside, and they

are not the way the firearm was manufactured.” Id., p. 22. She then proceeded to define the concept

of a machine gun for the jury’s reference as

       a weapon which will expel more than one projectile by the action of an explosive
       without manual reloading by a single function of the trigger. So a machine gun is a
       weapon which will shoot more than one bullet with a single pull of a trigger. Also,
       a machine gun is the frame or receiver of any such weapon. So the definition also
       includes the frame or the receiver of a machine gun.




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Id. Another finding of Ms. Eisenbise was that the firearm usually comes with a wood forend

handguard like you would see on a traditional AK-type firearm. Instead, the Zastava has an

aftermarket handguard installed, and an accessory at the bottom, called hand stop. See id., p. 23.

Ms. Eisenbise explained that “the hand stop is like many accessories on a firearm; it is an accessory

that’s meant to give a particular tactical advantage. It’s meant to hold your hand in place when you

are firing a machine gun that is short like this.” Id., p. 23. Since the accessory does not have a

stock, if a user shoots automatically, it serves to keep the hand from potentially slipping out in

front of a very short, potentially, ten-inch barrel. See id. According to the expert, “[o]nce the hole

for that pin was machined through this receiver, it became a machine gun. That is a manufacturing

process, the drilling of this hole, and that is the step, that is the step that takes this – in the

manufacturing process, that’s the step that crosses the line and makes this into a machine gun

receiver, is just drilling the hole. You have made a machine gun, okay, because it is the receiver

of a machine gun.” Id., p. 24. Ms. Eisenbise further added that even if we take off all the parts of

the firearm and just have receiver, it is still a machine gun because it has the auto sear pin hole.

That is the element that makes it a machine gun receiver. See id.

       It is critical to note that as part of the firearm testing, Ms. Eisenbise fired the weapon by

putting one round in the magazine of the JSP Barnaul ammunition, namely, a 7.62 x 39 caliber.

See id. According to the expert, it is a very common caliber for an AK-type system. She was able

to confirm that the firearm was capable of firing automatically by performing the following test:

       [She] put one round in the magazine, and with the selector lever in the
       semiautomatic position, [she] squeezed the trigger, and the exhibit expelled the
       projectile by the action of an explosive. In other words, it fired the round.

       [She] then took the same magazine, same ammunition, and loaded two rounds of
       ammunition into the exhibit, and with the selector in the first position for automatic
       fire, [she] pull[ed] the trigger, and the exhibit expelled both projectiles by a single
       pull of the trigger.


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        [She] then loaded five rounds of the same ammunition into the magazine, put it into
        the exhibit, and with the selector level in the automatic position, squeezed the
        trigger. It expelled all five rounds by a single pull of the trigger. So it functions as
        a machine gun. It shoot automatically and it incorporated the receiver of the
        machine gun.

Id., pp. 24-25. Mr. Eisenbise emphasized that just by the receiver having a hole for the automatic

sear pin it makes it a receiver of a machine gun. See id., p. 25.

        The Government then proceeded to post questions as to the insides of the firearm. The

expert explained and showed the jury that the “inside the receiver, it has the automatic sear

assembly installed. It also has a machine gun triggering hammer installed. And there is a

modification on the inside, . . . on the bolt guide rails where a notch is cut, and it’s been machined

away to accommodate the automatic sear. So it has the machine gun parts in it.” Id., p. 27.

According to Ms. Eisenbise, an automatic sear is what allows a firearm to fire automatically as

well as the hammer and disconnecter pieces which have been changed in a machine gun. See id.,

p. 28. The firearm also presented a bolt guide rail, which is consistent with modifications made

after leaving a factory. See id.

        Ms. Eisenbise further testified that the weapon had been fired before she received it.

Specifically, “[m]any of [her] pictures note the fouling, grayish-carbon fouling. Those pictures are

all taken prior to [] firing eight rounds through it. So it had definitively been fired.” Id., p. 28. She

then showed the jury the grayish residue she was referring to. According to the expert, “the bolt

and the piston, they have a lot of fouling, indicating that it’s been fired quite a bit before.” Id., p.

29. Photographs of the firearm before the testing were also submitted as evidence.

        As to the ammunition, she identified that the Zastava firearm shoots 7.62 x 39 caliber

ammunition. See id., p. 30. According to the expert, “[m]any firearms use this caliber, but it is the

most -- it would be the most common caliber for AK-type firearms.” Id., p. 30. The Government



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also posted questions about the Aero Precision X15 pistol and its capability to use 7.62 x 39 caliber

ammunition. However, upon questions regarding an AR-type firearm receiver, the expert

emphasized that it is the receiver portion of a firearm, which is typically associated with .223 Rem

or 5.56 NATO. See id., p. 32. Nonetheless, AR firearms can be barreled with a barrel and a chamber

for other calibers, but to build an AR that fires 7.62 x 39 is more rare. See id., pp. 33-34. It is

important to note that Ms. Eisenbise clarified that in order to modify the firearm,

         you would need a basic, basic knowledge of assembly, disassembly. You wouldn’t
         have to necessarily be a gunsmith, but you would have to have some knowledge as
         to how to take this gun apart, put it together. And as far as where to drill the hole,
         this is not hard to do on this firearm. You would need to go online and get the
         measurements as to where to place that hole.”

Id., p. 43. According to Ms. Eisenbise, information as to converting a weapon, such as a Zastava

into a machine gun is available through the internet. There are many sources “that will show you

how to convert both of these types of firearms, also how to build them and assemble them, how to

take them apart and take care of them, how to convert them to a machine gun, what parts you will

need, where to drill the hole, the measurements.” Id., p. 46.

         On a separate note, the expert testified that the parts which make the firearms into machine

guns are readily available online. The parts are not expensive, namely, between $50.00 and

$100.00. Ultimately, the auto sear assemblies are not controlled and can be purchased online. See

id., pp. 46-47.1

                       II.      RELEVANT PROCEDURAL BACKGROUND

         On July 12, 2021, at the close of the United States’ case in chief, Defendant orally moved

for a judgment of acquittal on the count pending against him. See, e.g., Docket No. 126.



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 The Court notes that the only person called as a witness by the Defendant was his sister, Yanidselle Hernández-
Marín. As her testimony is unrelated to the controversy related to the knowing possession of the firearm, the Court
deems irrelevant to discuss it further. See Transcript of Proceedings – Jury Trial, Day 3, Docket No. 145, pp. 59-76.

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Hernández-Marín essentially argued that charges pursuant to 18 U.S.C. 922(o) require a knowing

possession. The Defendant further argues that the Government failed to set forth the elements

required by law in order to demonstrate said possession. It is further argued that the Government

failed to prove that the Defendant knew that the weapon was a machine gun. Therefore, the

Government has failed to meet the burden required for the charge against Hernández Marín. See

Transcript of Jury Trial Proceedings, Day 3, Docket No. 145, pp. 50-52.

          On July 25, 2021, after being found guilty of the count charged, the Defendant

supplemented his oral motion in writing. See Docket No. 131. Hernández-Marín essentially

rehashed the arguments raised and used case law to buttress his position that the Government failed

to meet the burden required for charges for possession of a machinegun pursuant to 18 U.S.C.

922(o).

          On August 2, 2021 the United States filed its response to Defendant’s motion for acquittal.

See Docket No. 139. The Government argued that the jury heard testimony as to the police

intervention with Hernández-Marín, which resulted in finding a loaded Zastava firearm with

visible modifications to its exterior in the back of the vehicle, which upon further testing turned

out to have been modified to fire automatically. See Docket No. 139 at 1-2. Moreover, the

Government pointed towards the Defendant’s purchase of ammunition compatible with the

machinegun shortly before his arrest. See id. Finally, the Government argues that the jury saw

photos from Hernández-Marín’s “phone saved from his web browsing that suggested he had

shopped online for gun parts.” Id., p. 2.

          On August 25, 2021, the Defendant filed a Motion for New Trial seeking a new trial

pursuant to Fed. R. Crim. P. 33 based in the best interest of justice. See Docket No. 146 at 2.

Essentially, Hernández-Marín argues that the evidence is insufficient to sustain a conviction.



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Therefore, “[a] district court’s power to order a new trial pursuant to Rule 33 is broader than its

power to grant a motion for acquittal.” Id., p. 2.

        On October 12, 2021, the Government filed a Response in Opposition thereto. See Docket

No. 151. The Government dismissed the Defendant’s arguments by incorporating the arguments

made in the motion in opposition to the Defendant’s request for acquittal while arguing that the

interests of justice do not require a new trial in the case at bar. See id.

                                    II.     LEGAL STANDARD

A.      Motion for acquittal under Rule 29 of the Federal Rules of Criminal Procedure

        Federal R. Crim. P. 29 provides that the Court, upon defendant’s request and after the close

of the government’s case, must enter a judgment of acquittal on any offense for which the evidence

is insufficient to sustain a conviction. “The [trial] tribunal must discern whether, after assaying all

the evidence in the light most flattering to the government, and taking all reasonable inferences in

its favor, a rational fact finder could find, beyond a reasonable doubt, that the prosecution

successfully proved the essential elements of the crime.” United States v. Hernandez, 146 F.3d 30,

32 (1st Cir. 1998)(citing United States v. O’Brien, 14 F.3d 703, 706 (1st Cir. 1994)).

        In analyzing a Rule 29 motion, “[v]iewing the evidence in the light most flattering to the

jury’s guilty verdict, [the Court must] assess whether a reasonable factfinder could have concluded

that the defendant was guilty beyond a reasonable doubt.” United States v. Lipscomb, 539 F.3d 32,

40 (1st Cir. 2008). Thus, “Rule 29 requires that a deciding court defer credibility determinations

to the jury.” Hernández, 146 F.3d at 32 (citing O’Brien, 14 F.3d at 706); United States v. Walker,

665 F.3d 212, 224 (1st Cir. 2011) (“we take the facts and all reasonable inferences therefrom in

the light most agreeable to the jury’s verdict.”). Additionally, the Court “must be satisfied that ‘the




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guilty verdict finds support in a plausible rendition of the record.’” United States v. Pelletier, 666

F.3d 1, 12 (1st Cir. 2011)(quoting United States v. Hatch, 434 F.3d 1, 4 (1st Cir. 2006)).

       This standard is a “formidable” one, especially as “[t]he government need not present

evidence that precludes every reasonable hypothesis inconsistent with guilt in order to sustain a

conviction.” United States v. Loder, 23 F.3d 586, 589-90 (1st Cir. 1994)(internal quotation marks

omitted). Moreover, there is no “special premium on direct evidence.” O’Brien, 14 F.3d at 706.

“[T]he prosecution may satisfy its burden of proof by direct evidence, circumstantial evidence or

any combination of the two.” Id. (citing United States v. Echevarri, 982 F.2d 675, 677 (1st Cir.

1993)). Expressed in alternate fashion, “no premium is placed on direct as opposed to

circumstantial evidence; both types of proof can adequately ground a conviction.” United States

v. Ortiz, 966 F.2d 707, 711 (1st Cir. 1992). As to evidentiary conflicts, “the trial judge must resolve

all evidentiary conflicts and credibility questions in the prosecution’s favor; and moreover, as

among competing inferences, two or more of which are plausible, the judge must choose the

inference that best fits the prosecution’s theory of guilt.” United States v. Olbres, 61 F.3d 967, 970

(1st Cir. 1995); see Hernández, 146 F.3d at 32 (the trial court is required to “consider all the

evidence, direct and circumstantial, and resolve all evidentiary conflicts in favor of the

verdict.”)(citing United States v. Carroll, 105 F.3d 740, 742 (1st Cir. 1997)). On the other hand,

“[t]he court must reject only those evidentiary interpretations that are unreasonable, unsupportable,

or only speculative and must uphold any verdict that is supported by a plausible rendition of the

record.” United States v. Ofray Campos, 534 F.3d 1, 31-32 (1st Cir. 2008); see also United States

v. Cruz Laureano, 404 F.3d 470, 480 (1st Cir. 2005) (urging the trial court “not to believe that no

verdict other than a guilty verdict could sensibly be reached, but must only satisfy itself that the

guilty verdict finds support in a plausible rendition of the record.”)(citing United States v. Gómez,



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255 F.3d 31, 35 (1st Cir. 2001)). Nevertheless, “despite the prosecution-friendly overtones of the

standard of review, appellate oversight of sufficiency challenges is not an empty ritual.” United

States v. De La Cruz Paulino, 61 F.3d 986, 999 n.11 (1st Cir. 1995).

B.     Motion for New Trial under Rule 33 of the Federal Rules of Criminal Procedure

       Rule 33 of the Federal Rules of Criminal Procedure provides that, “[u]pon the defendant's

motion, the court may vacate any judgment and grant a new trial if the interest of justice so

requires.” Fed.R.Crim.P. 33(a). A new trial is not warranted if the court is “satisfied that

competent, satisfactory and sufficient evidence in th[e] record supports the jury's finding that this

defendant is guilty beyond a reasonable doubt[.]” United States v. Sanchez, 969 F.2d 1409, 1414

(2d Cir.1992). “In making this assessment, the judge must examine the totality of the case. All the

facts and circumstances must be taken into account,” and there “must be a real concern that an

innocent person may have been convicted” before the “interest of justice” requires a new trial. Id.

The ultimate test in adjudicating a Rule 33 motion to vacate “is whether letting a guilty verdict

stand would be a manifest injustice.” United States v. Snype, 441 F.3d 119, 140 (2d Cir.2006)

(internal citation and quotation omitted)).

       The Court may grant a new trial if the jury's “verdict is so contrary to the weight of the

evidence that a new trial is required in the interest of justice.” United States v. Chambers, 642 F.3d

588 (7th Cir.2011); see U.S. v. Washington, 184 F.3d 653, 657 (7th Cir.1999) (“The focus in a

motion for a new trial is not on whether the testimony is so incredible that it should have been

excluded. Rather, the court considers whether the verdict is against the manifest weight of the

evidence, taking into account the credibility of the witnesses.”). Restated, “[t]he court should grant

a motion for a new trial only if the evidence ‘preponderate[s] heavily against the verdict, such that

it would be a miscarriage of justice to let the verdict stand.’ ” U.S. v. Swan, 486 F.3d 260, 266 (7th



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Cir.2007) (quoting U.S. v. Reed, 875 F.2d 107, 113 (7th Cir.1989)). “[C]ourts have interpreted

[Rule 33] to require a new trial in the interests of justice in a variety of situations in which the

substantial rights of the defendant have been jeopardized by errors or omissions during trial.” U.S.

v. Kuzniar, 881 F.2d 466, 470 (7th Cir.1989), overruled on other grounds, 546 U.S. 12, 126 S.Ct.

403, 163 L.Ed.2d 14 (2005); see United States v. Munoz, 605 F.3d 359, 373 (6th Cir.2010)(“it is

widely agreed that Rule 33's ‘interest of justice’ standard allows the grant of a new trial where

substantial legal error has occurred.”)(internal citations omitted).

       In the final assessment, a “district court's disposition of a Rule 33 motion for a new trial in

a criminal case is ordinarily a ‘judgment call.’ ” United States v. Connolly, 504 F.3d 206, 211 (1st

Cir.2007) (quoting United States v. Maldonado–Rivera, 489 F.3d 60, 65 (1st Cir.2007)). “[A]t

least where the trial judge revisits the case to pass upon the new trial motion—an appreciable

measure of respect [from the Circuit Court] is due to the ‘presider's sense of the ebb and flow of

the recently concluded trial.’ ” Id. (quoting United States v. Natanel, 938 F.2d 302, 313 (1st

Cir.1991)); see United States v. Falu–Gonzalez, 205 F.3d 436, 443 (1st Cir.2000) (“We give

considerable deference to the district court's broad power to weigh the evidence and assess the

credibility of both the witnesses who testified at trial and those whose testimony constitutes “new”

evidence.”) (internal quotation omitted). In considering the weight of the evidence for purposes of

adjudicating a motion for new trial, a district judge “may act as a thirteenth juror, assessing the

credibility of witnesses and the weight of the evidence.” United States v. Hughes, 505 F.3d 578,

593 (6th Cir.2007) (citation omitted). Yet, in reviewing such a request for a new trial, the Court

remains ever mindful that “[t]he remedy of a new trial must be used sparingly, and only where a

miscarriage of justice would otherwise result.” United States v. Conley, 249 F.3d 38, 45 (1st




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Cir.2001); see U.S. v. Santos, 20 F.3d 280, 285 (7th Cir.1994)(“A jury verdict in a criminal case

is not to be overturned lightly, and therefore a Rule 33 motion is not to be granted lightly.”).

                                    III.    LEGAL ANALYSIS

       Defendant takes issue with the sufficiency of the evidence presented by the Government

as to the count charged in the indictment. The Court must consider all facts in light most favorable

to the prosecution and make all reasonable inferences in the Government’s favor. United States v.

Garcia-Carrasquillo, 483 F.3d 124, 129-30 (1st Cir. 2007); United States v. Boulerice, 325 F.3d

75, 79 (1st Cir. 2003); United States v. Walters, 904, F.2d 765, 770 (1st Cir. 1990); United States

v. Serrano, 870 F.2d 1, 5 (1st Cir. 1989). The Court will uphold a guilty verdict if “a rational

factfinder could conclude that the prosecution proved all elements of the crime beyond a

reasonable doubt.” See Garcia-Carrasquillo, 483 F.3d at 129-30. During its inquiry, the Court

shall “neither weigh the credibility of the witnesses nor attempt to assess whether the prosecution

succeeded in eliminating every possible theory consistent with the defendant’s innocence.” United

States v. Munoz-Franco, 487 F.3d 25, 41 (1st Cir. 2007) (internal citations and quotations omitted).

       The jury found the Defendant guilty of one count for violating 18 U.S.C. §§ 922(o) and

924(a)(2). A conviction for possession of a machine gun requires proof of the mens rea element

that the Defendant “knew the weapon he possessed had the characteristics that brought it within

the statutory definition of a machine gun.” Staples v. United States, 511 U.S. 600, 602 (1994).

Therefore, “if the defendant knew he possessed a rifle, but did not know that it would fire multiple

rounds with a single pull of the trigger, he could not be convicted of knowingly possessing an

unregistered machinegun. He might have knowingly possessed a rifle, which was in fact a machine

gun; but he could not knowingly possess a machine gun unless he knew that it had the features

(i.e., the capacity to fire multiple rounds with a single trigger pull) that makes owning it potentially



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illegal.” Docket No. 131 at 6. The Defendant posits that the Government has failed to present

evidence upon which a reasonable juror could find beyond a reasonable doubt that the Defendant

knew the firearm in his possession was modified to shoot automatically. See id., p. 7. To wit, no

evidence was presented as to who performed the modifications to the firearm, and no fingerprint

analysis was performed on the firearm “to determine whether any fingerprints alluded to the fact

that defendant had performed the modifications.” Id. And ultimately, the Government failed to

present a witness who saw or heard the Defendant firing the firearm. See id.

       The Defendant seeks acquittal or, in the alternative, a new trial, under the premise that the

Government failed to comply with the mens rea element of knowledge that the weapon the

Defendant possessed had the characteristics within the statutory definition of a machine gun. To

find the Defendant guilty, the Court instructed the jury that it must find that [f]irst, the defendant

knowingly possessed the machinegun described in the indictment; and second, the defendant had

knowledge of the characteristics that made the weapon a machinegun.” Docket No. 129 at 18. The

Court specifically instructed the jury that “[t]he word ‘knowingly’ means that the act was done

voluntarily and intentionally, not because of mistake or accident. But the defendant need not have

known that the weapon was considered a machinegun under federal law.” Id. Defendant’s position

is grounded upon his interpretation of the statute of possession of an unregistered machinegun

pursuant to Staples, 511 U.S. at 602, and the fact that although a mens rea element was not

expressly included in the statute, it was reasonably implied as drafted.

       In response, the Government argues that the jury saw sufficient evidence to conclude that

the defendant possessed the Zastava firearm. Firstly, the Government claims that Hernández-Marín

failed to challenge his constructive possession of the firearm. According to the First Circuit,

“[c]onstructive possession of an object exists when a person knowingly has the power at a



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particular time to exercise dominion and control over it.” United States v. Maldonado-García, 446

F.3d 227, 231 (1st Cir. 2006). Secondly, regarding the knowledge of the nature of the gun, the

Government argues that sufficient circumstantial evidence was presented to the jury as to said

element. Docket No. 139 at 4. Not only did the jury see the modifications of the firearm but an

expert witness testified that “a particular hole drilled in the lower receiver of the gun in and of

itself had the gun a machine gun.” Id. at 3. The expert further testified that the Zastava firearm was

capable of firing multiple bullets with a single function of the trigger. See id.

       Upon review, the Court deems that the Government presented sufficient evidence for a

reasonable jury to conclude that in fact, Hernández-Marín had constructive possession of the

firearm; he had purchased ammunition and loaded it into the firearm; which could result in also

concluding he had fired a gun. Said conclusions are the result of the testimony of witnesses which

were discussed in detail in pages 2 through 12.

       For instance, the jury heard the testimony of Agent Cruz and the circumstances surrounding

his intervention with the Defendant due to illegal tinted windows. As Agent Cruz was intervening

with a Dodge RAM Pick-Up Truck and due to the heigh of the vehicle, in order to perform the

photometer test to the windows, the doors of the Dodge RAM had to be opened. Hernández-Marín

complied with the Agent’s request and the firearm was found on the backseat of the pick-up truck.

A reasonable jury can conclude that the intervention was legal and reasonable and that the

incidental finding of the weapon was also legal. Photos and the actual weapons that were seized

were presented as evidence in support thereof.

       The jury also heard the testimony of Agent Lugo, who testified as to the weapons that were

registered under Hernández-Marín’s name and the compatible ammunitions that were purchased

by the Defendant on January 17, 2019, merely one (1) month before his arrest. One of the firearms



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occupied was an Aero Precision X15 pistol which was capable of using several calibers, including

the 7.62 x 39 caliber ammunitions, same ammunitions that were purchased in January 2019 and

were capable of being fired with the Zastava pistol. Then, Ms. Eisenbise testified that she tested

the Zastava pistol with 7.62 x 39 caliber ammunition, the firearm was capable of firing more than

one shoot at a time, and the firearm had been fired before her intervention. Therefore, the jury

could have reasonably concluded that Hernández-Marín purchased ammunitions and fired the

Zastava pistol prior to the intervention and occupation of the firearm.

       Most critical and determinative, Mr. Diaz-Torres was called as a witness in order to

introduce the digital evidence that was obtained from the Defendant’s iPhone. Included therein

were many internet searches of rifle parts, which added to the fact that the Defendant owned other

weapons is sufficient for a reasonable jury to conclude that a person with Hernández-Marín’s

expertise in firearms certainly knew the capability of the Zastava in his possession. See e.g.,

Government Exhibits 91, 92, 93, 96, 97, 100-106; see also United States v. Giambro, 544 F.3d 26,

30 (1st Cir. 2008)(holding that in a Rule 29 motion that the knowledge element was met as the

defendant had a large number of guns in his possession which could lead to a reasonable inference

that he was a gun collector or at least had a specialized knowledge and interest in firearms); United

States v. Morgan, 216 F.3d 557, 568 (6th Cir. 2000)(holding that a reasonable jury could have

found that the defendant’s testimony as to not inspecting the weapon he acquired for a third selector

switch or other automatic weapon identifiers lacked credibility as evidence was presented at trial

in support of the fact that he was a gun enthusiast).

       Therefore, viewing the evidence in the light most favorable to the prosecution, the Court

finds that sufficient evidence was presented at trial to allow a rational trier of fact to find the




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essential elements of the crime of possession of a machine gun beyond a reasonable doubt.

Accordingly, the Defendant’s motions for acquittal under Rule 29 and new trial must be DENIED.

                                   IV.     CONCLUSION

       For the reasons stated above, the Court finds that the Government presented sufficient

evidence whereupon a reasonable juror could find Defendant Gilberto J. Hernández-Marín guilty

on the count charged. Accordingly, Defendant’s Renewed Motion for Judgment of Acquittal

(Docket No. 131) and Motion for New Trial (Docket No. 146) are hereby DENIED. Sentencing

will proceed as scheduled.

       IT IS SO ORDERED.

       In San Juan, Puerto Rico, this 3rd day of December, 2021.



                                                          S/Daniel R. Domínguez
                                                          Daniel R. Domínguez
                                                          United States District Judge




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